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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                     :
                                              :
         v.                                   : MAGISTRATE NO. 21-MJ-533
                                              :
 SAMUEL LAZAR,                                :
                                              :
         Defendant.                           :


                  SUPPLEMENTAL MOTION FOR DETENTION
                          PENDING TRIAL

        The United States of America, by and through its Attorney, the Acting United States

Attorney for the District of Columbia, respectfully submits this supplemental memorandum in

support of its oral motion that the defendant, Samuel Lazar, be detained pending trial, pursuant to

18 U.S.C. §§ 3142(f)(1)(A) and (g).

        At the defendant’s detention hearing on August 11, 2021, the government presented

evidence the defendant had attempted to acquire firearms in contradiction of the law on multiple

occasions, most recently in 2015, which led to the defendant’s 2016 conviction for lying on the

Department of Justice, Bureau of Alcohol, Tobacco, Firearms and Explosives Form 4473 in an

attempt to obtain a firearm at a gun show. The Court questioned the government on the recency

of the defendant’s latest attempt to obtain a firearm to which the government advised the Court

that, to its knowledge at the time, the 2015 incident was the most recent.

        Today, the government became aware of the attached photographs, which are relevant to

the Court’s question regarding the defendant’s most recent firearm activity. On August 17, 2020,

the Concerned Citizens of Lebanon Pennsylvania posted the following comment to their Facebook

page:


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       “Alleged gunplay next to a public sidewalk and busy roadway by Palmyra business owners

and patrons this past weekend.”

       Accompanying the post were a number of photographs, many of which the government

obtained and included here. In the photographs, the defendant is pictured wearing a black t-shirt,

jean shorts and white sneakers while holding at least two different firearms.

       Gov. Photo 1: Appears to be the source of the photographs, a social media posting from
       an unidentified individual 11 hours prior to whenever it was viewed and copied and
       directed at “Taste Of Sicily” (a restaurant in Palmyra, PA) stating the following:

       “I truly admire the love and freedom we all shared this weekend, especially to then share
       with others (emoji) The family atmosphere is so valued, no matter your views, being kind
       and empathetic is what matters! Beyond grateful (emojis)”

       Gov. Photo 2: The defendant holding an AR type firearm with an inserted magazine

       Gov. Photo 3: The defendant in the background holding a handgun pointed in the air and
       an American flag behind two people holding AR type firearms

       Gov. Photo 4: The defendant in the background holding an American flag behind two
       people holding firearms

       Gov. Photo 5: The defendant aiming an AR type firearm

       Gov. Photo 6: The defendant aiming a handgun

       Gov. Photo 7: individual at the rally with an AR type firearm


       The defendant’s participation in this rally, which consisted of his holding and aiming

 firearms on a public street corner, purportedly in Palmyra’s business district, further underscores

 the defendant’s dangerousness to the community.

       While the government cannot comment on whether the firearms in the photographs are

 loaded, the defendant is holding an assault rifle that has a 30-round magazine inserted in it.

 Further, in multiple pictures, the defendant is aiming these firearms while standing on what

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 appears to be a public street. Given that the posting was made by the Concerned Citizens of

 Lebanon Pennsylvania, the community took note of the defendant’s actions and its danger.

       For the reasons put forth by the government in previous filings, at the detention hearing

on August 11, 2021 and herein, the United States respectfully requests the Court grant the

government’s motion to detain the defendant pending trial.



                                      Respectfully submitted,

                                      CHANNING D. PHILLIPS
                                      ACTING UNITED STATES ATTORNEY

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